Case 1:05-cv-01125-.]DT-STA Document 10 Filed 08/29/05 Page 1 of 5 Page|D 13

-"»/,§_
IN THE UNITED STATES DISTRICT COUE,UAUDB

EASTERN DIVISION 829 fhg_.D

 

FOR THE WES'I`ERN DISTRICT OF' 'I`EN"NE
46
MICHELLE GRANTHAM, On behalf
cf the deceased, WILLARD QHI
GRANTHAM,
Plaintiff,
VERSUS ClVlL ACTION NO.: l-OE-ll25-'I`/AN

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DEBRA KELLY, )
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)

Defendant.

 

RULE 16(1')) SCHEDULING ORDER

 

Pursuant to the scheduling Conference set by written notice,
the following dates are established as the final dates fOr:
INITIAL DISCLOSURES (RULE 26 (a) (1) ) : Se;Otember 13, 2005.
JOINING PARTIES:
for Plaintiff: October 30, 2005.
for Defehdant: November 30, 2005.

AMENDING PLEADINGS:

 

 

for Plaihtiff: October 30, 2005.
for Defendant: November 30, 2005.
COMPLETING ALL DISCOVERY: F`ebruarV 28. 2006.

 

(<':1) REQUESTS FOR PRODUCTION, INTERROGATORIES AN'D
REQUEST FOR ADMISSIONS: Februarv 28, 2006.

 

(b} EXPERT DISCLOSURE (Rule 26 (a) (2)):
{I) Plaintiff’s Experts: December 28, 2005.

(ii) Defendant's Experts: Januarv 28, 2006.

This document entered on the docket sheet In _co

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with nme ss and,or 79 (a) FncP on 130

Case 1:05-cv-01125-.]DT-STA Document 10 Filed 08/29/05 Page 2 of 5 Page|D 14

(iii) Supplementation under Rule 26(e):
February 7, 2006.

(C) DEPOSITIONS OF EXPERTS: Februarv 28, 2006.
FILING DISPOSITIVE MOTIONS: April 12c 2006.

FINAL LIST OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

(a) for Plaintiff: May 29c 2006.
(b) for Defendant: June 11 2006.

 

Parties shall have ten (10) days after service of final
lists of witnesses and exhibits to file objections under Rule
26(a) {3).

The trial of this matter is expected to last three (3) days
and is SET for JURY TRIAL on July 12c 2006, at 9:30 a.m. A joint
pretrial order is due on June 30c 2006. In the event the parties
are unable to agree on a joint pretrial order the parties must
notify the Court at least ten days before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for
Admissions must be submitted to the opposing party in sufficient
time for the opposing party to respond by the deadline for the
completion of discovery. For example, if the FRCP allow 30 days
for a party to respond, then the discovery must be submitted at
least 30 days prior to the deadline for completion of discovery.

Motions to compel discovery are to be filed and served by
the discovery deadline or within 30 days of the default or

service of the response, answer or objection, which is the

Case 1:05-cv-01125-.]DT-STA Document 10 Filed 08/29/05 Page 3 of 5 Page|D 15

subject of th emotion if the default occurs within 30 days of the
discovery deadline, unless the time for filing of such a motion
is extended for good cause shown, or any objection to the
default, response, or answer shall be waived.

The parties are reminded that pursuant to Local Rule
7(a)(l)(A} and (a)(l)(B), all motions, except motions pursuant to
FRCP 12, 56, 59 and 60, shall be accompanied by a proposed Order
and Certificate of Consultation.

The opposing party may file a response to any motion filed
in this matter. Neither party may file an additional reply,
however, without leave of the Court. If a party believes that a
reply is necessary, it shall file a motion for leave to file a
reply accompanied by a memorandum setting forth the reasons for
which a reply is required.

The parties may consent to trial before the Magistrate
Judge. The Magistrate Judge can normally provide the parties
with a definite trial date that will not be continued unless a
continuance is agreed to by all parties, or an emergency arises
which precludes the matter from proceeding to trial.

The parties are encouraged to engage in court-annexed
attorney mediation or private mediation on or before the close of
discovery.

This Order has been entered after consultation with trial

counsel pursuant to notice. Absent good cause shown, the

scheduling dates set by this order will not be modified or

Case 1:05-cv-01125-.]DT-STA Document 10 Filed 08/29/05 Page 4 of 5 Page|D 16

extended.

IT IS SO ORDERED.

g/WM/

THOMAS ANDERSON
UNITED ST S MAGISTRATE JUDGE

Date: éL”_f' 2(0; m/

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 1:05-CV-01125 Was distributed by fax, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

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Honorable .1 ames Todd
US DISTRICT COURT

